CaSe 2:19-0\/- -0_1170-_ |_\_/|_S_C_§ Document 1- 3 Filed 03/19/19 Page 1 of 1

,,,_,,._.,_,,____._.._;_..__' W. Y..“....», 1

Addrcss of Pinintil’i".
Address of Dei”endnntt_r

Place ofAccident, incident or 'l`ransaction:

.-= -,;\‘».-

@¢\»";~ #‘*’"\

  

"'Ur~:tt_Tr;n sims msancT court1 § 9 1 1 §? §§

ii _r __F_OR THE EASTERN DlSTRlCT OF P`ENNSYLVANIA

DES}GNAT!ON FORM
(ra br mv¢i‘by counsel nrpra se pinr'mw'ro indfcnr¢- rin- cai¢gor)' afrJr¢ mrt-far rite purpose of assignment w rite appmprtate ca!e)rdar;i

18in Wiilard D_rive, Wiilow Grove PA 19090
2342 Techno|_ogy Drive, Suite 325 O‘ Falion. MO 63368
Wiitow ernve, t=A `

 

' lccrtiijrtitnt. to my knowledgc,ihc within case i:] si
__ thisouurtcxccpt note nbave.

t§iir§ _ID-f:- ici‘.Z3i ici

` xsum) mm rF,tNY.-

 

 

 

Casc Ntrmbcr: Judge: _ _ _ Date Terrninated:
Civi| cases ore deemed related when )‘er is answered to any eftite following questions
i. is this case related to property indnded in an earlier numbered suit pending or within one year Yes E- Na|:l
previously terminated octlon'in this court? '
Z. fines this case involve thc same issue of l`nct nr grow out ofthe same transaction as a prior suit `t’es m No g
pending ar within one year previously terminated action in this court'? -
‘ 3. Dcm this case involve the vnli_iii_iy_` err infringement oi‘a patent already in suitor any earlier ch m No g
numbered case pending or within britt year previously terminated notion ofti\is coun? . '
_ 4. is this case a second or successive habeas corp ‘ni security nppcni, or pm se civil rights Yes [[ No` [:|

   
 
 
   

case filed by the some individuai? l _ .

' ’S not minleti to any case now pending or within one year previously terminated nation in

/§55 9 _`

nrM¢trm_.-j

 

 

 

CWlL: [Pi\c¢ rt il in mtc rntcgnny nuiy)

 

 

F¢r]¢m|' Qu¢;rt'ort Crr.res: B. Dt'v¢rst'ry Judsdr'cdon C`nr¢s:
l:l i. indemnity Cuntract. Marinn Contract, and Aii Othcr Cnntrncts [:I i. insurance Contruct and Other Controcls
g 2. FEL.'\ f:] 2. Airpiune i"crsottai injury
g 3. inncs Act-i’t:rsnnoi injury i:] 3 Assauii, Dcfatnntt'on
f:f 4. Anlitrust m 4. Morinc Pcrson:ti injury
g S. l’ntcnl E] 5. Molor Vc|ticlc Pr:rzronni injury
6. thbor»Munngenwn\ Rc:intions [_`f 6 Othcr l"crsonni injury (Pi'en.r¢ xprcf,f_'y}:
[:] rt civil nights jj 'r r-‘mdu¢ls I.inhitiey
|:§ ill Hnbeus C'nrpus g 8 Prodttcls I.inbiiity-Ashcstos
9_ Sccttritics Act(s) Cnscs f“_`] 9 All other Diversity C:lscs
§ iD. Sncjnl $ccttrity Rcvinw C:tsc~_q (f‘i"dl¢‘ fiv‘fFiLWf1_…~3”__..\l...__.,._,___...__`M.,...W.,_,..........”M
< l i. .»‘\ii other Fedcml Qucstit)n Ca_scs
_ (P|'¢'a_re .rpr.'r'lj'§'}.' _ 47 U.S.C. SEC. 227

 

 

i.

 

n /
mle n3/1912019 jun ,/' 514

ARBI'FRATION CEIITH"ICATIO:\`
{Tin‘ qu'cl r{l`tl'u'r rei'r)_'/icrrrrrrn n to r't'mm'¢' fire crue`/E'arrr t~.ir`yrhih!y}br= urinmrr£wl.}

/`\ Barry L' Cohen z counsel ni’ record ar pro w plainui\`. des l)rrt'i)y certify

 
  
   

`i` t_f§~t`{ott\it itt l.tn:tt\ L`ivil Ruic SJ,Z. § 3(c} (2}, thnt to tim hunt ni`my knowledge nmi bcliui`. thc tintnttgt:s recoverable itt this civil nation case
¢"r`cc¢.'cd li:c sum nl'.$|§ii.il¢iii.¢i(i exclusive nl`intclesl nmi ct).\ils;

l `!il:i)t:i‘ntin:l tlmlt st\nnr:ltlt_\' ¢i:trrrngc‘s i$ smigiti. MA R 1 g Q@'EQ

:

68864

.»irr.urm';~ minn P.-r.- .\`t' !’i'm)m`_i'} r,»m,w,,,_»}'}“,r_) r.‘ m{r_t"n;rphtrrt'ir;}

 

NOTE A itl:ti Li¢.' l\tt\'¢r \tlif br .t t:z.')! i);"lul\' moh- rl`tilurc inn linen t'utn;tl\-.tuc\: with i-' it C l' 3d

 

 

 

a
I-`¢

' xiii

 

